Case 1:25-cv-00128-JJM-LDA            Document 35-9        Filed 04/11/25       Page 1 of 5 PageID #:
                                             1050



                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



  STATE OF WISCONSIN; et al.,

                  Plaintiffs,

          v.                                                C.A. No. 1:25-cv-128

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                  Defendants.



                 DECLARATION OF DR. KATHERINE JORE,
    ASSOCIATE VICE CHANCELLOR FOR PERSONNEL, BUDGET AND GRANTS,
                UNIVERSITY OF WISCONSIN-STEVENS POINT

        Pursuant to 28 U.S.C. § 1746, I, Dr. Katherine Jore, hereby declare as follows:

        1.      I am a resident of Wisconsin. I am over the age of 18 and have personal knowledge

 of all the facts stated herein, except as to those matters stated upon information and belief; as to

 those matters, I believe them to be true. If called as a witness, I could and would testify competently

 to the matters set forth below.

        2.      In June 2010, I was appointed as the Associate Vice Chancellor for Personnel,

 Budget, and Grants at the University of Wisconsin – Stevens Point (“UWSP”).

        3.      As Associate Vice Chancellor for Personnel, Budget, and Grants at UWSP, I

 provide general oversight of the Academic Affairs budget as well as grants and sponsored

 programs.

        4.      Attached to this declaration as Exhibit A is a true and correct copy of an email I

 received on April 9, 2025, from the Institute for Museum and Library Services.



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Case 1:25-cv-00128-JJM-LDA          Document 35-9        Filed 04/11/25      Page 2 of 5 PageID #:
                                           1051



        5.      Attached to this declaration as Exhibit B is a true and correct copy of an attachment

 to that April 9, 2025, email I received from the Institute for Museum and Library Services.

        6.      This communication indicates that the UWSP IMLS grant discussed at paragraph

 81 of the Complaint has been terminated, effective April 8, 2025, thereby preventing the

 completion of the project to the detriment of the UWSP Museum of Natural History and its visitors.

        I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.

        Executed on April 11, 2025, at Stevens Point, Wisconsin.



                                              _____________________________________
                                              Dr. Katherine Jore




                                                  2
     Case 1:25-cv-00128-JJM-LDA             Document 35-9          Filed 04/11/25       Page 3 of 5 PageID #:
                                                   1052



From:                            grantsadmin@imls.gov
Sent:                            Wednesday, April 9, 2025 9:05 PM
To:                              Ferkett, Brigid; Office of Research and Sponsored Programs; Jore, Katie
Subject:                         Notice of Grant Termination IGSM-255926-OMS-24
Attachments:                     Notice of Grant Termination (IMLS)-IGSM-255926-OMS-24.pdf


[Some people who received this message don't oŌen get email from grantsadmin@imls.gov. Learn why this is important
at hƩps://aka.ms/LearnAboutSenderIdenƟficaƟon ]

CAUTION: This message came from an EXTERNAL source. DO NOT reply or follow links unless this message is trustworthy.


Dear IMLS Grantee,

We regret to inform you that your IMLS grant has been terminated. For further details, please see the aƩached noƟce
from IMLS AcƟng Director Keith Sonderling.

Best wishes,
The InsƟtute for Museum and Library Services




                                                           1
                                                                                                      Exhibit A
Case 1:25-cv-00128-JJM-LDA              Document 35-9          Filed 04/11/25        Page 4 of 5 PageID #:
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                                                                                                   Exhibit B
 Case 1:25-cv-00128-JJM-LDA                Document 35-9           Filed 04/11/25        Page 5 of 5 PageID #:
                                                  1054




INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Brigid Ferkett, Emily Knutson, Katherine Jore

bferkett@uwsp.edu, orsp@uwsp.edu, kjore@uwsp.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. IGSM-255926-OMS-24) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024




                                                                                                       Exhibit B
